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                                                      October 24, 2024

VIA ECF

The Honorable Jessica G. L. Clarke
United States District Court
500 Pearl Street
New York, New York 10007

       Re: Doe v. Combs, et al., Case No. 23-cv-10628 (JGLC)

Dear Judge Clarke:

        I am one of the counsel of record for Defendants Sean Combs, Daddy’s House Recording
Studio, Inc., and Bad Boy Entertainment Holdings, Inc. (collectively, the “Combs Defendants”).
I filed my Notice of Appearance on December 21, 2023 [Dkt. No. 21].

       I write to advise the Court and all counsel of record that, effective October 25, 2024, I will
no longer be employed by Jonathan D. Davis, P.C., attorneys for the Combs Defendants.

        In accordance with Local Rule 1.4, I respectfully request that the Court issue an order
relieving me as counsel of record for the Combs Defendants.

       I thank the Court for its consideration of this request.

                                                      Respectfully submitted,

                                                      /s/ Anthony C. LoMonaco

                                                      Anthony C. LoMonaco

cc: All Counsel of Record (via ECF)
